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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

Defendant.

)
UNITED STATES OF AMERICA )
)
Vv. ) Criminal No. 21-0507 (PLF)
)
STEPHANIE MARYLOU BAEZ, )
)
)
)

 

SECOND AMENDED SCHEDULING ORDER

On October 17, 2022, the Court scheduled the bench trial in this case for
May 8, 2023. See October 17, 2022 Minute Order. On October 28, 2022, the Court issued an
amended scheduling order. See Amended Scheduling Order [Dkt. No. 36]. On March 15, 2023,
the parties filed a Joint Motion to Reschedule Pretrial Hearing and Trial [Dkt. No. 39]. The
Court has considered the parties’ joint motion and conferred with the parties by email.
Accordingly, it is hereby

ORDERED that the Joint Motion to Reschedule Pretrial Hearing and Trial [Dkt.
No. 39] is GRANTED; it is

FURTHER ORDERED that the bench trial currently scheduled for May 8, 2023
and pretrial hearings and deadlines are VACATED; it is

FURTHER ORDERED that on or before April 5, 2023, the parties shall confer
and file a joint status report proposing a number of available dates in April and May for a
rescheduled motions hearing on defendant Stephanie Baez’s two motions to dismiss; and it is

FURTHER ORDERED that the proceedings in this case shall be governed by the

following revised schedule:
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Date Description

June 9, 2023 The parties shall disclose any expert
witnesses.

June 23, 2023 The parties shall file any motions in limine

and Daubert motions.

 

July 7, 2023 The parties shall file oppositions to motions
in limine and Daubert motions.

The United States shall provide its
Rule 404(b) notice to Ms. Baez.

 

July 10, 2023 The parties shall file proposed case-in-chief
exhibit lists. The exhibit lists must contain
a brief description of each exhibit.

 

 

July 14, 2023 The parties shall file any replies in support
of motions in limine and Daubert motions.

July 17, 2023 The parties shall file any objections to the
admissibility of exhibits, to the extent
practicable,

The parties shall file proposed case-in-chief
witness lists. Counsel will not be limited to
calling only those witnesses listed and will
not be required to call their witnesses in the
sequence listed. In some cases, security
concerns may justify nonidentification of
witnesses by the United States until shortly
before they are called to testify. In this
situation, the United States will include the
number of unidentified witnesses in its
witness list and separately identify those
witnesses in a filing under seal. Defense
counsel shall not publicly disseminate the
names of those witnesses.

The United States shall provide to Ms. Baez
all Brady and Giglio evidence not
previously disclosed related to the
witnesses on its witness list, as well as any
other Brady and Giglio information not
previously disclosed.

 

 

 

 
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July 19, 2023 The parties shall furnish opposing counsel
and the Court with copies of their
pre-marked exhibits, All exhibits are to be
marked in advance of trial and listed in
order on the exhibit form obtained from the

 

Courtroom Deputy Clerk.
July 24, 2023, Final Pretrial Conference and oral argument
at 10:00 a.m. on any motions in limine and Daubert

motions in Courtroom 29 in the William B.
Bryant Annex to the E. Barrett Prettyman
Courthouse. The parties should set aside
the entire day if there will be any witnesses.

 

July 26-28 and Bench trial in Courtroom 29.
July 31, 2023,
at 10:00 a.m.

 

 

 

 

SO ORDERED.

PAUL L. FRIEDMAN _
United States District Judge

DATE: 3[aa \2 3
